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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                            Southern District
                                              __________      of New
                                                           District of York
                                                                       __________


              Fermin Rendon Campos, et. al.                    )
                             Plaintiff                         )
                                v.                             )      Case No. 19-cv-02414
            SixtyOne Reade Pizza Inc., et. al.                 )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         SIXTYONE READE PIZZA, INC. and JOSEPH PATI                                                                    .


Date:          04/17/2019                                                                /s/ Adam C. Wilner
                                                                                         Attorney’s signature


                                                                                    Adam C. Wilner (AW-2304)
                                                                                     Printed name and bar number
                                                                                     Greenberg & Wilner, LLP
                                                                                    60 E. 42n Street, Suite 4000
                                                                                    New York, New York 10165

                                                                                               Address

                                                                                      awilner@gwlawny.com
                                                                                            E-mail address

                                                                                          (212) 953-2300
                                                                                          Telephone number

                                                                                          (212) 986-5994
                                                                                             FAX number
